CaSe 2:18-€.422-SPL Document 50 Filed 04/0‘3 Page 1 of 1

AO 442 (Rev. ll/ll) Arrest Warrant

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UNITED STATES DISTRICT CoU T

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District of Arizona

United States of Arnerica

 

 

 

 

v. ) ., 7
) Case NO_ CR-18-00422-02-PHX-SPL
)
) _M
_..._.---°”-'”"'"'“ jj
James Larkin § :F\LED row ;;YED g
Defendant EECENED ”__,__ x
l
ARREST wARRANT APR 1 0 2018 §
~1 M, t r)\. ali
To: Any authorized law enforcement officer QLE;H.%< U 3 D"'e W

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manner cr m .,_~_1§; …Wj

` BY`,__,,M.-». W;;;;“::WW'~
YOU ARE CGMMANDED to arrest and bring before a United States magistrate jullge'vvithoifinné cessary delay
(name of person to be arrested) James |_arkin

who is accused of an offense or violation based on the following document filed with the court1

E{ lndictment ij Superseding Indictment III Information

El Superseding Information El Complaint
CI Probation Violation Petition

l'_'l Supervised Release Violation Petition IJ Violation Notice ij C rder of the Court

This offense is briefly described as follows:

18:371 - Conspiracy
18:1952(3)(3)(A) - Travel Act - Faci|itate Prostitution
18:1956(h) - Conspiracy to Commit Money
18:1956(:-1)(1)(B)(i) - Concealment Money Laundering
(
(

18:1956 a)(2)(A) - |nternational Promotional Money Laundering
18:1957 a) - Transactiona| Money Laundering

Date: 03/29/2018 /%%W\

!.~rsuing officer 's signature

City and state: Phoenix, Arizona Amanda Duran, Deputy C|erk

Printea’ name and title

 

Return

 

This warrant was received on (daze) 3 '°#"?f 2d1 7
at (city and state) fAQé?N/¢¢ , //2»

Date: fr?-z¢)/g %%'_/

Arresting officer ’s signature

M{ Fe»z

Printea’ name and title

, and the person was arrested on (daze) ‘/'¢»/» M/f

 

 

 

 

